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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                  United States District Court
                                          Eastern District of California
                                                                    CORRECTED
         UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                    v.                                                (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses committed on or after November 1, 1987)
            BRANDON SAVALOJA
                                                                      Criminal Number: 2:10CR00192 -02
                    (Defendant’ s Name)

                                                                      PHIL COZENS, ESQ.
                                                                      Defendant’ s Attorney

THE DEFENDANT:
[U]   admitted guilt to violation of charges 1, 2, 3, AND 4 as alleged in the violation petition filed on 8/20/2013
      .
[ ACCORDINGLY, the court has adjudicated that the defendant is guilty of the follow ing violations:

Violation Number                   Nature of Violation                                  Date Violation Occurred
See next page.




The court: [U] revokes heretofore ordered on     10/2/2012 .

       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.


       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                              9/24/2013
                                                              Date of Imposition of Sentence

                                                              /s/ John A. Mendez
                                                              Signature of Judicial Officer

                                                              JOHN A. MENDEZ, United States District Judge
                                                              Name & Title of Judicial Officer

                                                              1/21/2014
                                                              Date
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AO 245D-CAED (Rev. 09/2011) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:              2:10CR00192 -02                                                            Judgment - Page 2 of 5
DEFENDANT:                BRANDON SAVALOJA

                                                    ADDITIONAL VIOLATION
                                                                                 Date Violation
Violation Number                   Nature of Violation                           Concluded

1                                  UNLAWFUL USE OF A CONTROLLED
                                   SUBSTANCE                                     3/24/13; 5/29/13; 7/26/13; 6/24/13
2                                  FAILURE TO FOLLOW THE INSTRUCTIONS
                                   OF THE PROBATION OFFICER                      5/23/13; 6/24/13
3                                  FAILURE TO PARTICIPATE IN A DRUG
                                   TREATMENT PROGRAM                             6/24/13
4                                  FAILURE TO PARTICIPATE IN A DRUG
                                   TESTING PROGRAM                               6/27/13; 6/28/13; 7/3/13; 7/9/13
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:10CR00192 -02                                                               Judgment - Page 3 of 5
DEFENDANT:                BRANDON SAVALOJA


                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 5 MONTHS .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the follow ing recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in the Sacramento or El Dorado County jail
        facility, but only insofar as this accords w ith security classification and space availability.


[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                         RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                       to

at                                             , w ith a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                             By
                                                                                              Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               2:10CR00192 -02                                                                        Judgment - Page 4 of 5
DEFENDANT:                 BRANDON SAVALOJA


                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 MONTHS .


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court' s determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous w eapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply w ith the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
         16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in w hich he or she resides, w orks, is a student, or w as convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the standard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district w ithout permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answ er truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsew here, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      w ithout the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant' s compliance w ith such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:             2:10CR00192 -02                                                              Judgment - Page 5 of 5
DEFENDANT:               BRANDON SAVALOJA


                                SPECIAL CONDITIONS OF SUPERVISION
        1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
             States probation officer, or any other authorized person under the immediate and personal
             supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
             Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
             residents that the premises may be subject to searches pursuant to this condition.

        2.   The defendant shall provide the probation officer with access to any requested financial
             information.

        3.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
             treatment program to obtain assistance for drug or alcohol abuse.

        4.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
             breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

        5.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
             places where alcohol is the chief item of sale.

        6.   As directed by the probation officer, the defendant shall participate in a program of outpatient
             mental health treatment.

        7.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
             treatment or testing and shall make payment directly to the vendor under contract with the
             United States Probation Office of up to $25 per month.
